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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     District of Nevada
     ________________   District of ________

     Case number (If known): _________________________ Chapter you are filing under:
                                                            Chapter 7
                                                            Chapter 11
                                                            Chapter 12
                                                            Chapter 13                                                    Check if this is an
                                                                                                                          amended filing


Official Form 101
                                                                                                                                                12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together called a
joint case and in joint cases, these forms use you to ask for information from both debtors. For example, if a form ask                     ,
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.




                                        About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                        JOEL
                                        __________________________________________________       __________________________________________________
                                        First name                                               First name
       identification (for example,
                                        CROSBY
                                        __________________________________________________       __________________________________________________
       passport).                       Middle name                                              Middle name

       Bring your picture               SINNOTT
                                        __________________________________________________       __________________________________________________
       identification to your meeting   Last name                                                Last name
       with the trustee.                ___________________________                              ___________________________
                                        Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________       __________________________________________________
      have used in the last 8           First name                                               First name
      years
                                        __________________________________________________       __________________________________________________
       Include your married or          Middle name                                              Middle name
       maiden names.                    __________________________________________________       __________________________________________________
                                        Last name                                                Last name

                                        __________________________________________________       __________________________________________________
                                        First name                                               First name
                                        __________________________________________________       __________________________________________________
                                        Middle name                                              Middle name
                                        __________________________________________________       __________________________________________________
                                        Last name                                                Last name




3.    Only the last 4 digits of
      your Social Security              xxx     xx      3 ____
                                                      ____  9 ____
                                                               7 ____
                                                                   3                            xxx        xx    ____ ____ ____ ____
      number or federal                 OR                                                      OR
      Individual Taxpayer
      Identification number             9 xx    xx    ____ ____ ____ ____                       9 xx       xx    ____ ____ ____ ____
      (ITIN)

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Debtor 1        JOEL    CROSBY SINNOTT
                _______________________________________________________                               Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                              I have not used any business names or EINs.                   I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in                 _________________________________________________             _________________________________________________
      the last 8 years                       Business name                                                 Business name

      Include trade names and
                                             _________________________________________________             _________________________________________________
      doing business as names                Business name                                                 Business name


                                             ___ ___      ___ ___ ___ ___ ___ ___ ___                      ___ ___      ___ ___ ___ ___ ___ ___ ___
                                             EIN                                                           EIN

                                             ___ ___      ___ ___ ___ ___ ___ ___ ___                      ___ ___      ___ ___ ___ ___ ___ ___ ___
                                             EIN                                                           EIN




5.    Where you live                                                                                       If Debtor 2 lives at a different address:


                                             8720 Castle View Avenue
                                             _________________________________________________             _________________________________________________
                                             Number     Street                                             Number     Street


                                             _________________________________________________             _________________________________________________


                                              Las Vegas                       NV      89129
                                             _________________________________________________             _________________________________________________
                                             City                            State   ZIP Code              City                            State   ZIP Code

                                              Clark
                                             _________________________________________________             _________________________________________________
                                             County                                                        County


                                             If your mailing address is different from the one             If              mailing address is different from
                                             above, fill it in here. Note that the court will send         yours, fill it in here. Note that the court will send
                                             any notices to you at this mailing address.                   any notices to this mailing address.


                                             _________________________________________________             _________________________________________________
                                             Number     Street                                             Number     Street


                                             _________________________________________________             _________________________________________________
                                             P.O. Box                                                      P.O. Box

                                             _________________________________________________             _________________________________________________
                                             City                            State   ZIP Code              City                            State   ZIP Code




6.    Why you are choosing                   Check one:                                                    Check one:
      this district to file for
      bankruptcy                                Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition,
                                                I have lived in this district longer than in any              I have lived in this district longer than in any
                                                other district.                                               other district.

                                                I have another reason. Explain.                               I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)
                                                ________________________________________                      ________________________________________
                                                ________________________________________                      ________________________________________
                                                ________________________________________                      ________________________________________
                                                ________________________________________                      ________________________________________



     Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                    page 2
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Debtor 1        JOEL    CROSBY SINNOTT
                _______________________________________________________                              Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




7.    The chapter of the                     Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                    for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                                Chapter 7
      under
                                                Chapter 11
                                                Chapter 12
                                                Chapter 13


8.    How you will pay the fee                  I will pay the entire fee when I file my petition.
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may                                                          attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                                I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                        No
      bankruptcy within the
      last 8 years?                             Yes. District __________________________ When       _______________ Case number ___________________________
                                                                                                    MM / DD / YYYY

                                                       District __________________________ When     _______________ Case number ___________________________
                                                                                                    MM / DD / YYYY

                                                       District __________________________ When     _______________ Case number ___________________________
                                                                                                    MM / DD / YYYY



10.   Are any bankruptcy                        No
      cases pending or being
      filed by a spouse who is                  Yes. Debtor _________________________________________________ Relationship to you        _____________________
      not filing this case with                        District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                         MM / DD / YYYY
      partner, or by an
      affiliate?
                                                       Debtor _________________________________________________ Relationship to you      _____________________

                                                       District __________________________ When     _______________ Case number, if known____________________
                                                                                                    MM / DD / YYYY



11.   Do you rent your                          No. Go to line 12.
      residence?                                Yes. Has your landlord obtained an eviction judgment against you?

                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                           part of this bankruptcy petition.




     Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         JOEL CROSBY SINNOTT
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name        Middle Name            Last Name




12.   Are you a sole proprietor                    No. Go to Part 4.
      of any full- or part-time
      business?                                    Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                        _______________________________________________________________________________________
                                                        Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                    _______________________________________________________________________________________
                                                        Number    Street
      LLC.
      If you have more than one
                                                        _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                 _______________________________________________          _______      __________________________
                                                         City                                                    State        ZIP Code


                                                        Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                   No. I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                         No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                            the Bankruptcy Code.

                                                   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                        Bankruptcy Code.




14.   Do you own or have any                       No
      property that poses or is
      alleged to pose a threat                     Yes. What is the hazard?       ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                      ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                     ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                  Number         Street


                                                                                  ________________________________________________________________________

                                                                                  ________________________________________ _______           ____________________
                                                                                  City                                     State             ZIP Code


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Debtor 1         JOEL CROSBY SINNOTT
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                                I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you                 I received a briefing from an approved credit                      I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities           I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                                I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                   Incapacity.      I have a mental illness or a mental                Incapacity.    I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                   Disability.      My physical disability causes me                   Disability.    My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                   Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                                duty in a military combat zone.                                     duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1        JOEL CROSBY SINNOTT
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name     Middle Name             Last Name




                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do
      you have?
                                                     No. Go to line 16b.
                                                     Yes. Go to line 17.
                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                 money for a business or investment or through the operation of the business or investment.
                                                     No. Go to line 16c.
                                                     Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.
                                                 _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                       No
      administrative expenses
      are paid that funds will be                        Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                    1-49                                    1,000-5,000                                25,001-50,000
      you estimate that you                    50-99                                   5,001-10,000                               50,001-100,000
      owe?                                     100-199                                 10,001-25,000                              More than 100,000
                                               200-999

19.   How much do you                          $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?                                $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion

20.   How much do you                          $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      to be?                                   $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion


                                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                     correct.
                                            If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                            of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                            under Chapter 7.
                                            If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                            this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                            I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                            I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                            with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                            18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                /s/ Joel Crosby Sinnott
                                               ______________________________________________                  _____________________________
                                               Signature of Debtor 1                                           Signature of Debtor 2

                                                           03/12/2019
                                               Executed on _________________                                   Executed on __________________
                                                                  MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1     JOEL CROSBY SINNOTT
             _______________________________________________________                                 Case number (if known)_____________________________________
             First Name     Middle Name             Last Name




                                          I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are             to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                          the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                              /s/ Andrew Wasielewski
                                              _________________________________                               Date           _________________
                                                                                                                             03/12/2019
                                             Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                             Andrew Wasielewski
                                             _________________________________________________________________________________________________
                                             Printed name

                                             The Wasielewski Law Firm, LTD
                                             _________________________________________________________________________________________________
                                             Firm name

                                             8275 South Eastern Avenue
                                             _________________________________________________________________________________________________
                                             Number Street

                                             Suite 200-818
                                             _________________________________________________________________________________________________

                                             Las Vegas
                                             ______________________________________________________ NV
                                                                                                    ____________ 89123
                                                                                                                 ______________________________
                                             City                                                   State        ZIP Code




                                                           (702) 490-8511
                                             Contact phone _____________________________________             Email address   andrew@wazlaw.com
                                                                                                                              ______________________________




                                             6161
                                             ______________________________________________________ NV
                                                                                                    ____________
                                             Bar number                                             State




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